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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION


STATE OF TEXAS, et. al.,

                 Plaintiffs,

     v.                                       Case No. 2:24-cv-86-Z

THE UNITED STATES OF AMERICA,
et. al.,

                 Defendants.


     BRIEF OF AMICUS CURIAE CITIZENS DEFENDING FREEDOM IN
SUPPORT OF PLAINTIFFS’ MOTION FOR STAY OF AGENCY ACTION AND
                  PRELIMINARY INJUNCTION
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                STATEMENT OF AMICUS CURIAE’S INTEREST

      Citizens Defending Freedom is a nonprofit, utilizing its resources to ensure

every American citizen is equipped and empowered to stand for and preserve their

constitutional rights and freedoms for themselves and future generations. Citizens

Defending Freedom is committed to helping ensure federal agencies do not

promulgate final rules that are unconstitutional or impose additional compliance

costs on its members, the public, parents, or students. Its purpose includes educating

the American public on issues that must be considered in a Title IX ruling on these

critical issues. The outcome of this case will have a direct effect on Citizens Defending

Freedom, including decisions on allocating its resources.

      The Final Rule at issue suffers from many defects, including infringing upon

the separation of powers and due process protections enshrined in the United States

Constitution. While the individual parties may not be able or have standing to

address these concerns, Citizens Defending Freedom is well-positioned to brief these

issues in detail and does so below.

                                  INTRODUCTION

      After failing to achieve progressive policy through legislation, the current

Administration seeks to impose that policy through unlawful federal regulation in its

Final Rule. In so doing, the Administration, through its Department of Education,

will alter how all elementary schools, secondary schools, and postsecondary

institutions implement the provisions of Title IX, having widespread social, political,

and economic impacts throughout the entire United States educational system.



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       The Final Rule redefines Title IX’s prohibition on sex discrimination, applies

its dictates regardless of whether the activity occurs within the school or even within

the United States, preempts state and local laws conflicting with its terms, and

affects every schools’ ability to effectively regulate participation in educational

programs and activities. In addition, the Final Rule strips students of well-defined

due process rights in the Title IX process, resulting in increased compliance costs and

litigation. The Administration seeks to implement these changes without any clear

indication of support from Congress in the statutory text in clear violation of doctrinal

American values.

       Ben Franklin was once asked what form of government the United States had;

famously, he responded: “A republic, if you can keep it.” Cases such as this, which

define the boundaries of the separation of powers between the branches of

government and limit unelected bureaucrats’ ability to regulate the lives of

Americans, are central to retaining our republican form of government. For these

reasons, Citizens Defending Freedom respectfully submits this amicus brief in

support of the Court granting Plaintiffs’ Motion to Stay Enforcement of the Final Rule

filed by the State of Texas.

                                      ARGUMENT

       To prevail on the motion for preliminary injunction relating to the Final Rule,

Plaintiffs must demonstrate (1) a likelihood of success on the merits; (2) that it is

likely to suffer irreparable harm in the absence of preliminary relief; (3) that the

balance of equities tips in its favor; and (4) that an injunction is in the public interest.



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Valley v. Rapides Parish School Bd., 118 F.3d 1047, 1051 (5th Cir. 1997) (citing Roho

Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990)). This brief focuses exclusively on

the likelihood of success element, arguing Plaintiffs will succeed on the merits

because the Final Rule 1) exceeds the authority delegated to the Department of

Education by Congress on a major question; and 2) is arbitrary and capricious by

infringing upon students’ constitutional due process rights without engaging in a

careful comparison of these changes. Accordingly, this Court should issue a

nationwide preliminary injunction “to avoid the chaos and confusion of a patchwork

of injunctions. State of Fla. v. Dep’t of Health & Hum. Servs., 19 F.4th 1271, 1281-82

(11th Cir. 2021) (citing City of Chicago v. Barr, 961 F.3d 882, 916-17 (7th Cir. 2020)).

   I.     The Final Rule exceeds authority delegated by Congress by legislating
          on a major question.

        “[A]n administrative agency’s power to promulgate legislative regulations is

limited to the authority delegated by Congress.” VanDerStok v. Garland, 86 F.4th

179 (5th Cir. 2023). Accordingly, an agency’s exercise of authority must always derive

from authority delegated to it by Congress. Id. One way an agency exceeds its

statutory authority is by legislating on a “major question” that Congress did not

clearly delegate to the agency. W. Virginia v. Env’t Prot. Agency, 597 U.S. 697, 716

(2022); Biden v. Nebraska, 143 S. Ct. 2355, 2374-75 (2023) (citing King v. Burwell,

576 U.S. 473, 485 (2015)); see Nebraska, 143 S. Ct. at 2378 (Barrett, J., concurring)




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(citing FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000)).1

Limiting an agency to decisions that are within its authority, prevents the

unconstitutional shift of Article I legislative power to Article II Executive Agencies,

such as the Department of Education (the “Department”).2

         Contrary to some speculation in the commentariat,3 the major questions

doctrine dates back decades. In 1986, then-First Circuit Judge Stephen Breyer wrote

in a law review article, “Congress is more likely to have focused upon, and answered,

major questions, while leaving interstitial matters [for agencies] to answer

themselves in the course of a statute's daily administration.” Nebraska, 143 S. Ct. at

2380 (citing S. Breyer, Judicial Review of Questions of Law and Policy, 38 ADMIN. L.




1 In   Nebraska, the Supreme Court reaffirmed courts should not assume Congress has
assigned questions of “deep ‘economic and political significance’” to an agency unless
such assignment is made in a “clear statement to that effect.” Nebraska, 143 S. Ct. at
2375 (citing King v. Burwell, 576 U.S. 473, 485 (2015)). Accordingly, the Supreme
Court rebuffed the Department of Education’s attempt to implement a student debt
relief plan that would have cost the federal government billions of dollars because
“[t]he basic and consequential tradeoffs” inherent in a mass debt cancellation
program “are ones that Congress would likely have intended for itself.” Id.
2 See e.g., Indus. Union Dep’t, AFL-CIO v. Am. Petroleum Inst., 448 U.S. 607, 645
(1980) (“In the absence of a clear mandate in the Act, it is unreasonable to assume
that Congress intended to give the Secretary the unprecedented power over American
industry that would result from the Government’s view of §§ 3(8) and 6(b)(5), coupled
with OSHA’s cancer policy.”); MCI Telecommunications Corp. v. Am. Tel. & Tel. Co.,
512 U.S. 218 (1994) (“It is highly unlikely that Congress would leave the
determination of whether an industry will be entirely, or even substantially, rate-
regulated to agency discretion—and even more unlikely that it would achieve that
through such a subtle device as permission to “modify” rate-filing requirements.”).
3 Samuel Buckberry Joyce,     Testing the Major Questions Doctrine, STANFORD LAW
SCHOOL          (Feb.       26,       2024),              https://law.stanford.edu/wp-
content/uploads/2024/02/FINAL-Joyce-Article.pdf.

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REV. 363, 370 (1986)). This formulation bears a striking resemblance to the core of

the major questions doctrine as it would come to be well-defined over the decades.4

         Through the major questions doctrine, the Supreme Court places a renewed

emphasis on the separation of powers, ensuring that Executive Branch agencies do

not overstep into legislative territory without a clear expression of authority from

Congress. W. Virginia, 597 U.S. at 700 (internal citations omitted) (expressing that

the major questions doctrine is animated by separation of powers principles and a

practical understanding of legislative intent). Given these recent decisions, it is

important courts thoroughly review agency action to ensure compliance with

Supreme Court precedent and the foundational separation of powers underpinning

the United States Constitution.

         When considering whether an agency action is a major question, a reviewing

court must consider (1) whether the Final Rule is a significant political or economic

question that Congress would likely reserve to itself, and (2) if so, whether there was

a clear statutory authorization. Nebraska, 143 S. Ct. at 2375. The changes to Title IX

in the Final Rule are not consistent with the text or history of Title IX and are of vast




4   See FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000) (“Given
this history and the breadth of the authority that the FDA has asserted, we are
obliged to defer not to the agency’s expansive construction of the statute, but to
Congress’ consistent judgment”); see also Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302,
324 (2014) (“We expect Congress to speak clearly if it wishes to assign to an agency
decisions of vast economic and political significance.”) (citations omitted); Ala. Ass’n
of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per curiam)
(“We expect Congress to speak clearly when authorizing an agency to exercise powers
of vast economic and political significance”) (citations omitted).

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political and economic significance. As such, the Final Rule is a major question and

these changes should be reserved to Congress, the branch of government that controls

the passage of laws, absent a clear delegation of authority. Nebraska, 143 S. Ct. at

2375 (citing Burwell, 576 U.S. at 485). Here, there has been no express delegation.

Therefore, the Final Rule violates the major questions doctrine and should be

preliminarily enjoined.5

             A. The changes to Title IX in the Final Rule are politically and
             economically significant because the changes radically redefine the
             scope of Title IX.

      Title IX was passed in 1972 and provides “No person in the United States shall,

on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681. It is a simple statute that, essentially,

prevents sex discrimination in schools receiving federal funding. The language of

Title IX presents a binary view of sex and makes no mention of concepts like “gender

identity” or “sexual orientation” when defining the treatment of sex. See 20 U.S.C. §

1681 (referring repeatedly to “one sex” and “the other sex”). Despite the text and




5 Indeed, the Western District of Louisiana recently stayed the Final Rule because,

among other things, it violates the major questions doctrine. Louisiana, et al. v. U.S.
Dep’t of Education, et al., No. 3:24-cv-00563-TAD-KDM, ECF No. 53, at 23-27 (W.D.
La. June 13, 2024). That court specifically determined there were “vast” political and
economic impacts from the Final Rule and that there was no such appropriate
delegation. Id. The Eastern District of Kentucky also found that the major question
doctrine supports enjoining the regulations. Tennessee, et al. v. Cardona, et al., No.
2:24-cv-00072-DCR, ECF No. 100, at 28-30 (E.D. Ky. June 17, 2024). This Court
should follow suit, staying the Final Rule.
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history of Title IX, the Final Rule redefines the prohibition on sex discrimination to

include “discrimination on the basis of sex stereotypes, sex characteristics, pregnancy

or related conditions, sexual orientation, and gender identity.” Nondiscrimination on

the Basis of Sex in Education Programs or Activities Receiving Federal Financial

Assistance, 89 Fed. Reg. 33474, 33,476 (Aug. 1, 2024) (to be codified at 34 C.F.R. pt.

106). The Final Rule also allows schools to maintain sex-segregated programs,

activities, and facilities, but it prohibits schools from enforcing these distinctions in

a manner that causes “more than de minimis harm,” which it has defined to include

prohibiting a person from participating in education programs or activities consistent

with their gender identity. See id. at 33816, 33819–20. Because these changes apply

to all schools accepting federal funding (i.e. all public schools and nearly all colleges

and universities), the changes are significant.

                    a.     The changes are politically significant.

      The Final Rule’s inclusion of “sexual orientation” and “gender identity” within

the definition of “sex” in Title IX changes the entire scope of the statute and

eliminates important due process protections (discussed supra, II). This change in the

scope of Title IX is a vastly significant political question that is best suited for the

halls of Congress. W. Virginia, 597 U.S. at 721 (citing Brown & Williamson Tobacco

Corp., 529 U.S. at 159–160). The Supreme Court recently rejected an agency’s

attempt to legislate on a politically significant issue, determining an agency could not

under a general authority “adopt measures necessary to prevent the … spread of

disease, institute a nationwide eviction moratorium in response to the COVID-19



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pandemic.” Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485,

2487 (2021) (per curiam). Similarly, the Final Rule will be implemented under a re-

interpretation of the general grant of authority to prohibit sex discrimination in

educational programs and activities. Such a re-interpretation is a quintessential

political action, particularly where the text and history are not in alignment with

such an interpretation.

      As noted by Plaintiffs, prior regulations from the Department “treated sex as

binary, referring multiple times to “one sex,” especially versus “the other sex,” using

the phrase “both sexes,” and referencing “boys and girls” and “male and female

teams.” Exhibit 2, Mtn. Leave to File 11, May 14, 2024, ECF No. 13-2 (citing 34 C.F.R.

§§ 106.33, 106.34(a)(3), 106.36(c), 106.37(a)(3), 106.41(c), 106.51(a)(4), 106.58(a),

106.60(b), 106.61; see also 34 C.F.R. pt. 86 (1975)). In addition to these examples,

Title IX contains an exemption for public undergraduate institutions with a historic

“policy of admitting only students of one sex.” 20 U.S.C. § 1681(a)(5). It also discusses

organizations whose memberships have “traditionally been limited to persons of one

sex,” see 20 U.S.C. § 1681(a)(6), and “Father-son or mother-daughter activities,” so

long as similar opportunities provided for “one sex” are offered to “the other sex,” see

20 U.S.C. § 1681(a)(8). States and schools have operated according to this

interpretation of the law for decades, and only now does the Department purport to

turn all of that on its head, redefining “sex” to include “sexual orientation” and

“gender identity.”




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      This new view from the Department has already been rejected by courts,

including this Court. Texas v. Cardona, No. 4:23-CV-00604-O, 2024 WL 2947022

(N.D. Tex. June 11, 2024). Cardona determined the references to “sexual orientation

and gender identity” are references only to “statuses” and “do not otherwise alter how

the Title IX statute contemplates “‘sex.’” Id. at *31 (citing 20 U.S.C. § 1689(a)(6)

(directing the formation of a sexual-violence task force to, in part, “develop

recommendations on . . . inclusive approaches to supporting survivors, which include

consideration of . . . lesbian, gay, bisexual, or transgender (commonly referred to as

‘LGBTQI+’) status”)). Therefore, Cardona aptly found “these statuses do[] nothing

more than authorize information gathering, presumably for potential statutory

changes in the future. Until Congress enacts such a change, § 1689(a)(6) cannot be

construed as broadening the definition of sex.” Id. at *31. Cardona determined that

“the obligation not to discriminate on the basis of sexual orientation or gender

identity is nowhere within the text of Title IX.” Id. at *44.

      Cardona’s conclusion is consistent with a recent Eleventh Circuit case, which

found a prohibition on sex discrimination did not include a prohibition on gender

identity discrimination, because, among other things, any separation of students

based on sex (e.g., a bathroom policy) would result in transgender students in both

categories, thereby not excluding them on the basis of gender identity. Adams by &

through Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 809 (11th Cir. 2022).

Therefore, the Executive Branch’s inclusion of gender identity and sexual orientation

in the Final Rule is significant by ushering in a conception of the statute that



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radically redefines “sex” in way that has been repeatedly rejected. In Nebraska, the

Department of Education (under the same presidential Administration) was rebuffed

because “[t]he Secretary's new modifications of these provisions were not moderate

or minor” but “[i]nstead, they created a novel and fundamentally different loan

forgiveness program. 143 S. Ct. at 2369. By creating a “novel and fundamentally

different” system under Title IX, the Executive Branch’s rule is politically significant

and therefore is a major question that should be left to Congress.

                    b.     The Final Rule is economically significant.

      Unsurprisingly, the complete overhaul of Title IX in the Final Rule imposes an

enormous economic impact by expanding the scope of Title IX. Expanding the scope

of Title IX thereby increases costs in terms of resources, liability, and necessitating

training for all employees of schools that receive federal funding.

      The Final Rule’s use of the term “sex-based harassment” to describe the kind

of conduct warranting a school’s response, in contrast to the 2020 Regulations use of

the term “sexual harassment,” greatly expands the scope of Title IX. Compare 89 Fed.

Reg. at 33884 (to be codified at 34 C.F.R. § 106.2) (defining “sex-based harassment”),

with 34 C.F.R. § 106.30 (defining “sexual harassment”). This seemingly subtle change

is anything but subtle in practice.

      The 2020 Regulations limit the scope of “sexual harassment” to only conduct

that constituted hostile environment sexual harassment, quid pro quo sexual

harassment, and specific offenses defined by federal statute. See 34 C.F.R. § 106.30.

Each term of the 2020 rule had distinct elements that must be met for there to be a



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finding of responsibility in the formal grievance process. Id. This provided specificity

to the 2020 Rule creating firm rules and clear guidance.

      The Final Rule, in contrast, defines “hostile environment harassment” (which

is part of the umbrella term “sex-based harassment,” which it itself a subset of an

even larger umbrella term, “sex discrimination” (89 Fed. Reg. at 33491)) as:

      Unwelcome sex-based conduct that, based on the totality of the circumstances,
      is subjectively and objectively offensive and is so severe or pervasive that it
      limits or denies a person’s ability to participate in or benefit from the
      recipient’s education program or activity (i.e., creates a hostile environment).
      Whether a hostile environment has been created is a fact-specific inquiry that
      includes consideration of the following: (i) The degree to which the conduct
      affected the complainant’s ability to access the recipient’s education program
      or activity; (ii) The type, frequency, and duration of the conduct; (iii) The
      parties’ ages, roles within the recipient’s education program or activity,
      previous interactions, and other factors about each party that may be relevant
      to evaluating the effects of the conduct; (iv) The location of the conduct and the
      context in which the conduct occurred; and (v) Other sex-based harassment in
      the recipient’s education program or activity.

89 Fed. Reg. at 33884. This is a confusing and unworkable multi-factor analysis,

designed to expand the scope of Title IX, and on which the Final Rule has provided

limited guidance. See 89 Fed. Reg. at 33563, 33884.

      In addition, the multi-factor analysis required by the Final Rule will

substantially increase costs both in terms of potential litigation as well as in training

all employees. Schools will expend considerable resources analyzing each Title IX

complaint not only on its own merits, but the generalized culture of “[o]ther sex-based

harassment in the recipient’s education program or activity,” among at least four

other factors. 89 Fed. Reg. at 33884. This will necessarily entail a more cost-intensive

inquiry into not only the facts of the individual Title IX case, but also the generalized



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history of “sex-based harassment” at the school over an undetermined period of time.

The Title IX staff at every school will need to take this wide-ranging review for each

Title IX complaint that alleges hostile environment harassment, necessarily entailing

substantial costs unaccounted for by the Department.

         The Final Rule also increases Title IX liability by expanding the “actual

knowledge” requirement6 to what is effectively constructive knowledge. 89 Fed. Reg.

at 33563. Indeed, it imputes knowledge onto the recipient institution so long as a

single employee at the institution has knowledge. 89 Fed. Reg. at 33563. The Final

Rule’s formulation is contrary to the statute of Title IX and the Supreme Court’s

longstanding interpretation of that statute, providing “no such [administrative

enforcement] action shall be taken until the department or agency concerned has

advised the appropriate person or persons of the failure to comply with the

requirement.” 20 U.S.C. § 1682.

         The Supreme Court interprets this “appropriate person” language to require

an institution have “actual knowledge” of sexual harassment before liability is

imposed. See, e.g., Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998)

(“Because the express remedial scheme under Title IX is predicated upon notice to an

‘appropriate person’ … we hold that a damages remedy will not lie under Title IX

unless an official who at a minimum has authority to address the alleged




6 The Supreme Court requires schools to have “actual knowledge” of harassment
before they can be liable for failing to respond. Davis Next Friend LaShonda D. v.
Monroe Cnty. Bd. of Educ., 526 U.S. 629, 642 (1999).
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discrimination … has actual knowledge of discrimination in the recipient's programs

and fails adequately to respond”); Davis, 526 U.S. at 642 (same). The Final Rule bucks

this language and instead imputes knowledge to an institution where any employee—

not only an “appropriate person” at the institution—has knowledge of any potential

sex-based harassment, thereby drastically expanding the scope of Title IX.

      Remarkably, the Department does not acknowledge any additional training

burden that would necessarily result from the additional requirement to train almost

every employee that he or she must report any conduct potentially constituting sex-

based harassment lest the institution be imputed with knowledge of the harassment.

See generally, 89 Fed. Reg. at 33852. The Department states that “[t]raining

employees is accounted for in the [Regulatory Impact Analysis] model and does not

meaningfully change recipients’ annual burden to provide training as compared to

the 2020 amendments.” Id.

      In contrast, the 2020 Rule only required training for “Title IX Coordinators,

investigators, decision-makers, and any person who facilitates an informal resolution

process.” 34 C.F.R. § 106.45(b)(1)(iii). It did not de facto require the training of every

single employee on their mandatory reporting obligations, as the Final Rule does. 89

Fed. Reg. at 33888 (to be codified at 34 C.F.R. § 106.44(c)) (subjecting all school

employees who do not qualify as “confidential employees” to be mandatory Title IX

reporters, meaning they must report alleged conduct to the Title IX Coordinator).

      The due process issues, which will be discussed infra, are also relevant to the

costs analysis. The Final Rule forces recipients to incur the litigation risks that were



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present prior to the 2020 Regulations. See generally Samantha Harris & KC Johnson,

Campus Courts in Court: The Rise in Judicial Involvement in Campus Sexual

Misconduct Adjudications, 22 N.Y.U. J. LEGIS. & PUB. POL’Y 49 (2020) (noting that

several hundred accused-student lawsuits were filed post 2011, alleging both

violations of constitutional due process rights and the right to be free from

discriminatory discipline under Title IX; further noting that this development

resulted in the erosion of the historical deference given to universities in such cases).

After the 2020 Regulations took effect, accused-student litigation dropped to a

“trickle.”7 In backtracking to the landscape before 2020, the Final Rule speaks the

language of “fairness” (89 Fed. Reg. at 33636) and “equity” (89 Fed. Reg. at 33849)

but ushers in the same procedural due process issues present in the 2011 Dear

Colleague Letter. No doubt, the return of that regime will increase costs.

         The Final Rule amounts to an all-encompassing and incredibly expensive

overhaul of Title IX as it has been understood and applied over the last fifty years.

As a result, it is economically significant.8 Each of the changes noted above made by

the Final Rule will increase compliance costs for institutions. The cost of




7 KC Johnson, Title IX Public Hearing Comments, DEPARTMENT OF EDUCATION,
OFFICE          FOR         CIVIL          RIGHTS        (June       10,         2021),
https://ocrcas.ed.gov/sites/default/files/storage/correspondence/202106-titleix-
publichearing-comments/kcjohnson.pdf.

8 For this reason, Plaintiffs also show irreparable injury; “increased costs of
compliance, necessary alterations in operating procedures, and immediate threats of
costly and unlawful adjudications of liability all inflicted by the Rule’s new
provisions.” Career Colleges & Sch. of Texas v. U.S. Dep’t of Educ., 98 F.4th 220, 235
(5th Cir. 2024).
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implementing the Final Rule’s ban on discrimination on the basis of gender identity,

and along with that ban, its classification of any treatment of an individual

inconsistent with his or her gender identity as sex-based harassment will result in

more Title IX actions and require additional training for staff. 89 Fed. Reg. at 33516,

33816 (including any treatment of a person inconsistent with his or her gender

identity subjects him or her to “more than de minimis harm,” violating Title IX). The

expanded scope of “actual knowledge” will only compound the required increase in

training costs as any janitor, lower-level staff member, or any faculty member may

unknowingly subject the institution to liability, if they heard a student discuss

conduct that may constitute sex-based harassment under the nebulous multi-factor

balancing test. See 89 Fed. Reg. at 33563, 33884.

      In promulgating the procedural provisions, the Department failed to

adequately consider the cost burden on States and recipients, as articulated above.

In terms of computing these costs, these changes impact all United States educational

institutions that accept federal funding. Therefore, it will apply to tens, if not

hundreds of millions of people across the nation, necessitating astronomical costs in

implementing the changes for compliance – even the Department estimates

compliance costs to be over $98 million, and that excludes the costs for which it failed

to account. 89 Fed. Reg. at 33861. The Department subjects recipients to a host of

new, unforeseen and incredibly expensive requirements, something especially

significant with respect to Spending Clause statutes of which Title IX is one. See

Davis, 526 U.S. at 640 (“we have repeatedly treated Title IX as legislation enacted


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pursuant to Congress' authority under the Spending Clause”). Because the Final Rule

imposes astronomical new costs on recipients, it is economically significant and is a

major question that should be left to Congress.

             B. There has not been an express delegation from Congress to the
                Executive Branch.

      The thirty-seven-word Title IX statute does not provide an express delegation

of authority to redefine the term “sex” or to impose these radical new costs on

recipients. See 20 U.S.C. § 1681. Instead, the statute’s repeated references to “one

sex” or the “other sex” precludes any finding that there has been an express

delegation of authority – if anything, there has been an implicit rejection of authority.

Title IX does not include discrimination on the basis of sex stereotypes, sex

characteristics, pregnancy or related conditions, sexual orientation, and gender

identity (Congress chose not to add these categories as discussed) – this is imposed

by this Final Rule alone. See 89 Fed. Reg. at 33476; Cardona, 2024 WL 2947022 at

*45. Congress could not – and did not – delegate to the Department the power to

completely redefine the scope of the statute.

      Congress has repeatedly rejected invitations to alter Title IX’s focus on binary

sex categories. See H.R. 5, 117th Cong. (2021-2022). As recently as the last Congress,

it rejected the invitation to adopt legislation that would have protected against

discrimination based on sex, sexual orientation, and gender identity in areas

including public accommodations. See id. This opportunity to act on this issue, and

the decision not to, is the opposite of a clear expression of delegation to the

Department of Education through Title IX. See Nebraska, 143 S. Ct. 2355, 2373

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(2023) (chiding the attempt to claim administrative authority to take an action that

Congress has chosen not to enact itself) (citing West Virginia, 142 S. Ct., at 2614).

Indeed, “Title IX has never been amended to expand its anti-discrimination

provisions to include sexual orientation and gender identity.” Cardona, 2024 WL

2947022 at *45. That is why this Court struck down guidance documents from the

Department of Education that purported to include “gender identity” in the term

“sex” because such guidance exceeded the Department’s authority. Id.

         The Final Rule would create a fundamentally different Title IX with different

protections for newly defined groups such as gender identity and sexual orientation.

This redefinition of the scope of Title IX and the consequential tradeoffs associated

with that decision on the institutions across the nation are considerations Congress

would likely have intended for itself. See Nebraska, 143 S. Ct. at 2369. (citing West

Virginia, 142 S. Ct. at 2613). Therefore, the text and history of Title IX weigh in favor

of a finding that the Final Rule violates the major questions doctrine because the

changes to the law are significant such that it should come from Congress, not the

Executive Branch, and there is no express delegation of authority to make such a

change. Id. at 2374-75 (citing Burwell, 576 U.S. at 485).

   II.      The Final Rule is arbitrary and capricious because it violates the
            procedural rights of both complainants and accused students.

         Due Process protects the citizenry from a government that would take away

life, liberty, or property, without adequate justification. U.S. CONST. amend. XIV. The

Final Rule removes these important foundational due process protections for

students, including removing the right to review evidence and the right to a live

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hearing with cross examination. 89 Fed. Reg. at 33696, 33747. The removal of these

protections limits any ability of a student to advocate for his or her rights. As

Plaintiffs point out, the Final Rule holistically fails to account for these changes as it

is required to do under the Administrative Procedure Act (“APA”) (5 U.S.C. §§ 551-

559). ECF No. 16, at 32-35. This is also true with the procedural issues highlighted

in this brief.

       When considering if agency action is arbitrary and capricious, courts ask

whether “an agency articulated a rational connection between the facts found and the

decision made.” Louisiana v. U.S. Dep’t of Energy, 90 F.4th 461, 469 (5th Cir. 2024)

(citing ExxonMobil Pipeline Co. v. DOT, 867 F.3d 564, 571 (5th Cir. 2017)). Then the

court must ask if the agency’s reasoning “fails to account for relevant factors or

evinces a clear error of judgment.” When an agency changes position, such changes

require a careful comparison of the agency’s statements to ensure that the agency has

recognized the change, reasoned through it without factual or legal error, and

balanced all relevant interests affected by the change. Id. Here, the Final Rule makes

changes that are not rationally connected to the facts and refused to provide adequate

explanation for its drastic changes. Therefore, these changes are arbitrary and

capricious in addition to violating the major questions doctrine.

       A. The Final Rule limits the right to access evidence.

       The right to access evidence has repeatedly been upheld by courts as a due

process issue in schools because to deny students’ access to evidence, deprives them

of the availability to prove their innocence (in the case of respondents) or prove guilt



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(in the case of complainants). See, e.g., Doe v. Purdue Univ., 928 F.3d 652, 663 (7th

Cir. 2019) (Barrett, J.) (“And withholding the evidence on which it relied in

adjudicating his guilt was itself sufficient to render the process fundamentally

unfair.”). Whereas the 2020 Rule requires a school disclose to the parties all “directly

related evidence” (34 C.F.R. § 106.45(b)(5)(vi)), the Final Rule permits a school to only

disclose a “description” of the relevant evidence. 89 Fed. Reg. at 33696. Even more

alarming, the Final Rule permits schools to provide only an oral description of the

evidence to the student-parties. 89 Fed. Reg. at 33696 (“Under § 106.45(f)(4), a

recipient may provide a description of the evidence orally or in writing”). Only when

the student knows enough about the law and federal regulations to specifically

request the evidence against him, does the school need to provide him that evidence.

89 Fed. Reg. at 33682.

      As the Department is—or should be—aware, there is a long history in Title IX

caselaw of universities losing cases (either on a constitutional due process theory or

a Title IX theory) because they failed to give the parties access to the evidence. See,

e.g., Doe v. Purdue Univ., 464 F. Supp. 3d 989, 1003 (N.D. Ind. 2020) (“Because the

Defendants withheld evidence they used to find the Plaintiff guilty of violating

university policy, the disciplinary process was fundamentally unfair”); Oliver v. Univ.

of Texas Sw. Med. Sch., No. 3:18-CV-1549-B, 2019 WL 536376, at *13 (N.D. Tex. Feb.

11, 2019) (denying motion to dismiss due process and Title IX claims where accused

was never provided access to the evidence against him); Doe v. Miami Univ., 882 F.3d

579, 603 (6th Cir. 2018) (denying motion to dismiss due process claim where



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university did not give accused a copy of the disciplinary file); see also Cavalier v.

Cath. Univ. of Am., 306 F. Supp. 3d 9, 27 (D.D.C. 2018) (denying motion to dismiss

Title IX deliberate indifference claim where university failed to “preserve and seek

out important evidence”). These cases are from both complainant-side Title IX cases

(deliberate indifference) and respondent-side Title IX cases, revealing that access to

evidence is a procedural protection that benefits both complainants and respondents

and underscoring the importance of access to evidence for due process.

      Not only does the Department fail to acknowledge or discuss these holdings

and why the Final Rule alters the procedure, it also sets forth requirements that

simultaneously hurt students and schools, permitting schools to only provide an oral

“description” of the evidence (89 Fed. Reg. at 33696), but still requiring schools to

collect and compile all the evidence, to be provided to students upon request. 89 Fed.

Reg. at 33682. In other words, a school must still incur the costs associated with

investigating and adjudicating each Title IX case, but the students are still deprived

of access to that evidence. In short, it is worst case scenario for both students and

schools – students are denied the right to be automatically presented with the

evidence, but schools still have to expend the resources to collect that evidence.

      B.     The Final Rule eliminates the right to a live hearing and cross
             examination.

       A live hearing with cross examination is likewise paramount to due process.

Indeed, “due process requires cross-examination in circumstances like these because

it is the greatest legal engine ever invented for uncovering the truth.” Doe v. Baum,

903 F.3d 575, 581 (6th Cir. 2018). Over the last four years, universities have proven

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themselves more than capable of facilitating cross examination in these hearings (34

C.F.R. §106.45(b)(6)(i)), but now the Department rolls back that protection without

justification.

         The Final Rule eliminates the right to any live hearing, including any with

cross examination. 89 Fed. Reg. at 33747. Whereas the 2020 Rule requires that all

postsecondary schools provide a live hearing with cross examination to adjudicate all

formal complaints of sexual harassment (34 C.F.R. § 106.45(b)(6)(i)), the Final Rule

permits a postsecondary school to adjudicate a Title IX matter without a live hearing

at all, and through a model titled the “single investigator model.” 89 Fed. Reg. at

33746-33747. A school uses a “single investigator model” when it uses the same

official serves as both investigator and decisionmaker, and potentially also as Title

IX Coordinator, thereby combining all prosecutorial, investigative, and adjudicative

functions into one person. 85 Fed. Reg. 30367. Courts have found this to be an

inherently unfair procedure.9 The Department, however, disagrees, and explains that

it “has good reason to believe that many recipients will appreciate the flexibility these

final regulations will afford them, including the option to use a single-investigator

model, to better fulfill their obligation not to discriminate based on sex…” 89 Fed.

Reg. 33662. But this “flexibility” to invade students’ constitutional right to due

process and basic fairness is no flexibility at all.




9 See, e.g., Doe v. Univ. of Scis., 961 F.3d 203, 206 (3d Cir. 2020) (finding that the
“single investigator model” violates principles of basic fairness in a university Title
IX proceeding); Doe v. Princeton Univ., 30 F.4th 335, 348 (3d Cir. 2022) (same).
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      Several federal courts of appeal have recognized a student’s constitutional

right to a live hearing with some form of cross examination (even if only through a

hearing panel) in the Title IX context.10 Courts also consistently hold a public

university student’s “circumstances entitle[] him to relatively formal procedures.” See

Purdue, 928 F.3d at 663. The 2020 Rule integrated these holdings and mitigated

concerns of the hearing degenerating into a “shouting match,” Walsh v. Hodge, 975

F.3d 475, 485 (5th Cir. 2020), through its requirement that all cross examination be

conducted by the advisor and never through a party directly. 34 C.F.R. §

106.45(b)(6)(i). The Final Rule, however, permits a school to drop far below even the

low standard expressed in Haidak, where the First Circuit held that cross

examination through a hearing panel was constitutionally sufficient. Haidak, 933

F.3d at 70-71. Under the Final Rule, schools will be able to deny the student parties

any right to a hearing, which necessarily impairs the ability of schools to make the

credibility determinations they need to make. See Baum, 903 F.3d at 580.

      The Department’s Final Rule deprives both student parties of the benefit of

strenuously testing their opponent’s story through cross examination, instead

permitting schools to make decisions on these sensitive cases behind closed doors,




10 See generally, Doe v. Baum, 903 F.3d 575 (6th Cir. 2018) (holding that when
credibility is at issue, student is entitled to true cross-examination); Haidak v. U. of
Massachusetts-Amherst, 933 F.3d 56, 70 (1st Cir. 2019) (holding “some form” of cross-
examination is required, if only through a hearing panel, provided the hearing panel
“conduct[s] reasonably adequate questioning”); Doe v. Regents of Univ. of California,
28 Cal. App. 5th 44 (2018) (holding selective questioning by a hearing panel can
violate student’s due process rights); see also Doe v. U. of Scis., 961 F.3d 203 (3d Cir.
2020) (“basic fairness” requires cross-examination).
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without ever allowing either party the right to be heard in a live hearing. 89 Fed. Reg.

at 33895 (to be codified at 34 C.F.R. § 106.46(g)). A school not operating in good faith

can now more easily sweep legitimate assaults under the rug, or railroad accused

students, whatever it believes will less likely lead to liability.

       In sum, the procedural requirements of the Final Rule will (1) require schools

to use a confusing multifactor test to determine whether conduct constitutes sex-

based harassment (the same conduct may constitute sex-based harassment between

some students but not others); (2) impose liability even if only one employee at the

school is aware of the allegation; (3) remove the right of students to see the evidence

in the case; and (4) remove the right to any form of a live hearing. Taken together,

these provisions threaten schools into violating the rights of their students. Such a

result cannot possibly effectuate the text or purpose of Title IX – especially

considering the Department found that such procedures were impermissible just four

years ago. For these reasons, it cannot be said that the Department has “reasonably

considered the relevant issues and reasonably explained the decision” to make these

changes sufficient to survive arbitrary and capricious review. Fed. Commc’ns Comm’n

v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

   III.   This Court should issue a nationwide injunction.

       “[A] federal district court may issue a nationwide … injunction in appropriate

circumstances.” State of Fla. v. Dep’t of Health & Hum. Servs., 19 F.4th 1271, 1281–

82 (11th Cir. 2021) (citing Texas v. United States, 809 F.3d 134, 188 (5th Cir. 2015),

as revised (Nov. 25, 2015)) (internal quotations omitted). While these circumstances


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are rare, they are generally warranted where it is necessary to “protect similarly

situated nonparties[] or to avoid the chaos and confusion of a patchwork of

injunctions.” Id. (citing City of Chicago v. Barr, 961 F.3d 882, 916-17 (7th Cir. 2020)).

While amicus urges that nationwide injunctions should be reserved for the

exceptional cases, this is an exceptional case.

      The Western District of Louisiana and Eastern District of Kentucky have

already issued orders staying the application of the Final Rule within those Districts’

states. Louisiana, et al. v. U.S. Dep’t of Education, et al., No. 3:24-cv-00563-TAD-

KDM, ECF No. 53, at 23-27 (W.D. La. June 13, 2024); Tennessee et al. v. Cardona,

No. 2:24-cv-00072-DCR, 2024 WL 3019146 (E.D. Ky. June 17, 2024). The necessary

result of these partial injunctions is the very “patchwork of injunctions” resulting in

“chaos and confusion” for recipients of federal funds nationwide that should be

avoided. State of Fla., 19 F.4th at 1281–82. Schools and students who may not be able

to afford to litigate these issues in federal court should not be deprived of their rights

simply because they could not afford to be a plaintiff. Moreover, there is no utility in

the Department applying the 2020 Regulations in some states and the Final Rule in

others, depending on a patchwork of varying and evolving federal district court

orders. If the Court finds that Plaintiffs are likely to succeed on the merits, this Court

should issue a nationwide injunction to equally protect all students and schools in

our nation, and to prevent any further confusion until the cases are resolved.




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                                  CONCLUSION

      As evidenced above and in Plaintiff’s briefing, the Final Rule suffers from many

fatal issues counseling in favor of this Court granting the requested stay. This Court

should grant Plaintiffs’ motion for stay of agency action and preliminary injunction.


Dated: June 26, 2024                          Respectfully submitted,

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                           CERTIFICATE OF SERVICE


      I certify that on June 26, 2024, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



                                               /s/   Molly McCann
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